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                                                                     United States Bankruptcy Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                         February 19, 2025
                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS                     Nathan Ochsner, Clerk

                           HOUSTON DIVISION

IN RE:                                  §
                                        §       CASE NO: 22-33553
ALEXANDER E. JONES,                     §
                                        §
          Debtor.                       §
                                        §
                                        §       CHAPTER 7

      ORDER DENYING EXPEDITED CONSIDERATION OF MOTION
                     (RE: Docket No. 1089)

      Expedited consideration of FUAC’s Motion Requesting Leave to File a Motion
Approving the Sale of FSS Assets and Request for Status Conference is denied. The
Court will consider this Motion in the ordinary course with notice afforded to
parties in accordance with the Bankruptcy Local Rules for the Southern District of
Texas.



         Signed on February 19, 2025


                                             __________________________________
                                             Christopher Lopez
                                             United States Bankruptcy Judge
